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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

Maria Doris Pineda,                       )
no current address;                       )
                                          )
Maria Doris Pineda,                       )
on behalf of her minor child D.R.         )
no current address;                       )
                                          )
Jasmine Ortega Sanchez,                   )
no current address;                       )
                                          )
Jasmine Ortega Sanchez,                   )
on behalf of her minor child M.O.R.       )
no current address;                       )     Case No.
                                          )
Francisco Javier Castillos,               )
no current address,                       )
                                          )
Holivia Adeline Castillos,                )
no current address;                       )
                                          )
Francisco Javier Castillos,               )
on behalf of his minor child F.J.C.       )
no current address;                       )
                                          )
Holivia Adeline Castillos,                )
on behalf of her minor child F.J.C.       )
no current address;                       )
                                          )
Dina Ruc,                                 )
no current address;                       )
                                          )
Dina Ruc,                                 )
on behalf of her minor child J.S.         )
no current address;                       )
                                          )
Marta Lopez,                              )
no current address;                       )

                                                                       1
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                                           )
Marta Lopez,                               )
on behalf of her minor child L.D.L.        )
no current address;                        )
                                           )
       Plaintiffs,                         )
                                           )
v.                                         )
                                           )
Donald J. Trump,                           )
President of the United States of America, )
in his official capacity,                  )
1600 Pennsylvania Ave, N.W.,               )
Washington, D.C.;                          )
                                           )
U.S. Immigration and Customs               )
Enforcement (“ICE”)                        )
500 12th St., SW                           )
Washington, D.C. 20536;                    )
                                           )
U.S. Department of                         )
Homeland Security (“DHS”)                  )
245 Murray Lane, SW                        )
Washington, D.C. 20528;                    )
                                           )
U.S. Customs and Border                    )
Protection (“CBP”)                         )
1300 Pennsylvania Ave., NW                 )
Washington, D.C. 20229;                    )
                                           )
U.S. Citizenship and Immigration           )
Services (“USCIS”)                         )
20 Massachusetts Ave, NW                   )
Washington, D.C. 20529;                    )
                                           )   JURY TRIAL DEMANDED
Thomas Homan, in his official capacity as )
Acting Director of ICE                     )
500 12th St., SW                           )
Washington, D.C. 20536;                    )
                                           )

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Jefferson Beauregard Sessions III, in his      )
individual capacity and in his official        )
capacity as Attorney General of the            )
United States                                  )
950 Pennsylvania Ave, NW                       )
Washington, C.C. 20530;                        )
                                               )
Kirstjen Nielsen, in her official capacity as )
Secretary of U.S. Department of Homeland )
Security (“DHS”)                               )
245 Murray Lane, SW                            )
Washington, D.C. 20528;                        )
                                               )
Kevin K. McAleenan, in his official            )
capacity as Acting Commissioner of U.S. )
Customs and Border Protection (“CBP”)          )
1300 Pennsylvania Ave., NW                     )
Washington, D.C. 20229;                        )
                                               )
and                                            )
                                               )
L. Francis Cissna, in his official capacity as )
Director of USCIS                              )
20 Massachusetts Ave, NW                       )
Washington, D.C. 20529,                        )
                                               )
                                               )
      Defendants.                              )

  CLASS COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      NOW COMES Plaintiffs Maria Doris Pineda, Jasmine Ortega Sanchez,

Francisco Javier Castillos, Holivia Adeline Castillos, Dina Ruc, and Marta Lopez,

and file this civil action against the Trump administration for violations of their

procedural and substantive due process rights under the Fifth Amendment of the




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U.S. Constitution, violation of the APA, and for class relief pursuant to Rule 23,

Fed. R. Civ. P. In support thereof, Plaintiffs state that:

                                 INTRODUCTION

                                           1.

      Trump’s professed and enacted policy towards thousands of caravanners

seeking asylum in the United States is shockingly unconstitutional. President

Trump continues to abuse the law, including constitutional rights, to deter

Central Americans from exercising their lawful right to seek asylum in the

United States, and the fact that innocent children are involved matters none to

President Trump. For example, the Flores Agreement, a legally binding

agreement designed to ensure the safety of immigrant alien children, as they

enter this country for a variety of reasons, states that minors must be held in

facilities run by licensed programs that are “safe and sanitary and are consistent

with [Defendants’] concern for the particular vulnerability of minors.” (See Ex. 1,

¶¶ 12.A, 14, Flores Agreement.) These facilities must “provide access to toilets

and sinks, drinking water … adequate temperature control and ventilation,

adequate supervision to protect minors from others, and contact with family.”

(See Ex. 1)




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                                         2.

      Despite the Flores Agreement’s lawfully binding mandates, President

Trump’s policy position/initiative is to put these very children in tents, touting

that “when they find out this happens, [held in tents for years in the desert]

you’re going to have far fewer people come up.” Clearly President Trump cannot

believe that his tents are facilities run by licensed programs as required by the

Flores Agreements. And President Trump clearly is not talking about adequate

temperature controlled and ventilated tents with toilets and sinks and drinking

water, for Plaintiffs’ children, noting that Trump has condoned tent

encampments as recent as 8 months ago. Id. Moreover, the issue of detaining

people in tents indefinitely brings about more unconstitutional conduct by our

President.

                                         3.

      The only way President Trump can mandate permanent detention without

even a bond hearing is for those persons to be designated as “you are an arriving

alien” upon entering the United States. See Garza-Garcia v. Moore, 539 F. Supp.

2d 899, 906 (S.D. Tex. 2007). There are two other designation: (2) “You are an

alien present in the United States who has not been admitted or paroled.”; or (3)

“You have been admitted to the United States, but are removable for the reasons

stated below.” See United States v. Castaneda-Barajas, No. CR-11-2069-RMP,



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2011 WL 3626786, at *6 (E.D. Wash. Aug. 16, 2011). These two designations,

however, permit asylum seekers to have a bond hearing. So, taking President

Trump at his word—that his policy position/initiative is to detain people in tents

until they have to go back to central America—President Trump must be

directing officials to designate all Caravanners as “you are an arriving alien.” Id.

The problem with this designation however is that the law requires Defendants

to permit all such designated persons to challenge their designations; consequently,

Trump’s policy of keeping all persons detained until they must leave the country

necessarily violates due process rights. See Garza-Garcia, 539 F. Supp. 2d 899.

                                         4.

      On top of the above, Trump has repeatedly professed that the caravan

people will not get into this county, and just as significant, Trump has taken

meaningful steps to ensure the world that this is his policy position/initiative,

meaningful steps such as deploying thousands of active military troops to the

border, waiting on caravan persons to arrive. The legal problem with Trump’s

plan to stop caravan persons from entering this country is that Plaintiffs are

seeking asylum, and Trump simply cannot stop them from legally doing so by

using military, or anyone.




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                                          5.

      This Court should also note that President Trump has begun hysterically

asserting without any evidence that “many criminals” and “many gang

members” are in this “onslaught” of migration. In an effort to create fear and

hysteria, Trump has gone so far as to call this “an invasion of our Country.”

Despite these statements and actions, Trump has been unable to produce any

evidence of criminals and gang members within the caravan, which has largely

proceeded peacefully on its journey. Plaintiffs now request that this Court

declare Trump’s policy positions/initiatives outlined in this Complaint

unconstitutional, to end this case and controversy.

                                  JURISDICTION

                                          6.

      This case arises under the Fifth Amendment to the United States

Constitution, the Administrative Procedures Act (APA), and the Declaratory

Judgment Act, inter alia. The court has subject matter jurisdiction under 28 U.S.C.

§ 1331.

                                          7.

      Personal Jurisdiction is proper because Defendants transact business in

this District and thus are subject to personal jurisdiction in this Court.




                                                                                  7
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                                      VENUE

                                          8.

      Venue is proper under 28 U.S.C. § 1391 because at least one of the

Defendants is subject to personal jurisdiction in this district with regards to this

action.

                                     PARTIES

                                          9.

      Plaintiff Maria Doris Pineda is a citizen of Honduras travelling by foot to

the United States to seek asylum. She is the mother of “D.R.”

                                         10.

      Plaintiff Jasmine Ortega Sanchez is a citizen of Honduras travelling by foot

to the United States to seek asylum. She is the mother of “M.O.R.”

                                         11.

      Plaintiff Francisco Javier Castillos is a citizen of Honduras travelling by

foot to the United States to seek asylum. He is the father of “F.J.C.”

                                         12.

      Plaintiff Holivia Adeline Castillos is a citizen of Honduras travelling by

foot to the United States to seek asylum. She is the mother of “F.J.C.”




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                                        13.

      Plaintiff Dina Ruc is a citizen of Honduras travelling by foot to the United

States to seek asylum. She is the mother of “J.S.”

                                        14.

      Plaintiff Marta Lopez is a citizen of Honduras travelling by foot to the

United States to seek asylum. She is the mother of “L.D.L.”

                                        15.

      Defendant Donald J. Trump is the President of the United States and is

responsible for the direction and control of all federal executive agencies,

including all Co-Defendants. Trump is the driving force behind the policies and

actions challenged in this suit.

                                        16.

      Defendant U.S. Immigration and Customs Enforcement (“ICE”) is the sub-

agency of DHS that is responsible for carrying out removal orders and

overseeing immigration detention.

                                        17.

      Defendants U.S. Department of Homeland Security (“DHS”) has

responsibility for enforcing the immigration laws of the United States.




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                                         18.

       Defendant U.S. Customs and Border Protection (“CBP”) is the sub-agency

of DHS that is responsible for the initial processing and detention of noncitizens

who are apprehended near the U.S. border.

                                         19.

       Defendant U.S. Citizenship and Immigration Services (“USCIS”) is the

sub-agency of DHS that, through its Asylum Officers, conducts interviews of

certain individuals apprehended at the border to determine whether they have a

credible fear of persecution and should be permitted to apply for asylum.

                                         20.

       Defendant U.S. Department of Health and Human Services (“HHS”) is a

department of the executive branch of the U.S. government which has been

delegated with authority over “unaccompanied” noncitizen children.

                                         21.

       Defendant Thomas Homan is sued in his official capacity as the Director of

ICE.

                                         22.

       Defendant Kirstjen Nielsen, is sued in official capacity as the Secretary of

the Department of Homeland Security. In this capacity, she directs each of the

component agencies within DHS: ICE, USCIS, and CBP. As a result, Defendant



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Nielsen has responsibility for the administration of the immigration laws

pursuant to 8 U.S.C. § 1103, is empowered to grant asylum or other relief.

                                        23.

      Defendant Jefferson Beauregard Sessions III is sued in his individual

capacity and his official capacity as the Attorney General of the United States. At

all times relevant to this Complaint, he had responsibility for the administration

of the immigration laws pursuant to 8 U.S.C. § 1103, oversaw the Executive

Office of Immigration Review, was empowered to grant asylum or other relief.

At all times relevant to this Complaint, he had the power to direct his

subordinates to carry out any order relating to asylum petitions and detention.

                                        24.

      Defendant L. Francis Cissna is sued in his official capacity as the Director

of USCIS.

                                        25.

      Defendant Kevin K. McAleenan is sued in his official capacity as the

Acting Commissioner of CBP.

               SOME RELEVANT LAWS AT ISSUE IN THIS CASE

                                        26.

      The care and custody of minors in Immigration Custody is controlled by

the Flores Agreement, a copy of which is attached hereto as Exhibit 1. That



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agreement applies to all minors, including those who are taken into custody with

their parents. Flores v. Lynch, 828 F.3d 898 (9th Cir. 2016). That agreement

provides that minors must be held in facilities run by licensed programs and that

are “safe and sanitary and are consistent with [Defendants’] concern for the

particular vulnerability of minors.” Ex. 1, ¶¶ 12.A, 14. These facilities must

“provide access to toilets and sinks, drinking water … adequate temperature

control and ventilation, adequate supervision to protect minors from others, and

contact with family.” Id.

                                         27.

      Any immigrant present in the U.S., irrespective of whether they

immigrated through a designated port of arrival, must be considered an

applicant for admission into the country:

      An alien present in the United States who has not been admitted or
      who arrives in the United States (whether or not at a designated port
      of arrival and including an alien who is brought to the United States
      after having been interdicted in international or United States
      waters) shall be deemed for purposes of this chapter an applicant for
      admission.

8 U.S.C. § 1225 (a)(1).

                                         28.

      Immigrants who indicate an intention to apply for asylum or indicates a

fear of persecution must be referred for a “credible fear interview”:




                                                                                 12
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      If an immigration officer determines that an alien (other than an
      alien described in subparagraph (F)) who is arriving in the United
      States or is described in clause (iii) is inadmissible under section
      1182(a)(6)(C) or 1182(a)(7) of this title and the alien indicates either
      an intention to apply for asylum under section 1158 of this title or a
      fear of persecution, the officer shall refer the alien for an interview
      by an asylum officer under subparagraph (B).

8 U.S.C. § 1225 (b)(1)(A)(ii).

                                        29.

      Following a credible fear interview, if an asylum officer determines that an

asylum seeker has a “credible fear of persecution,” then there is a significant

possibility that the asylum seeker will be granted asylum:

      For purposes of this subparagraph, the term “credible fear of
      persecution” means that there is a significant possibility, taking into
      account the credibility of the statements made by the alien in
      support of the alien’s claim and such other facts as are known to the
      officer, that the alien could establish eligibility for asylum under
      section 1158 of this title.

8 U.S.C. § 1225 (b)(1)(B)(v).

                                 RELEVANT FACTS

      a. Facts Relevant to Tent City

                                        30.

      The Northern Triangle countries of Guatemala, Honduras, and El Salvador

are undergoing a well-documented human rights crisis. 1 As a result, thousands


1See, e.g., Diego Zavala, Fleeing for Our Lives: Central American Migrant Crisis,
AMNESTY USA (Apr. 1, 2016, 12:12 PM),

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of immigrants have begun a journey to the United States, many children and

families, in order to seek asylum.

                                          31.

         In an interview with Laura Ingraham, Trump addressed the question of

those immigrants in this group seeking asylum. Specifically stating “we are

going to hold them until such time as their trial takes place.”

                                          32.

         In that interview, Trump further stated that “we’re going to put up, we’re

going to build tent cities, we’re going to put tents up all over the place” to house

caravanners.

                                          33.

         There is no evidence that Trump’s policy position/initiative of placing

people in tents and tent cities is in compliance with the requirement that alien

children such as those at issue in this case are being placed in facilities run by

licensed programs that provide adequate temperature control and ventilation,

access to drinking water, and supervision as required by the Flores Agreement.

Ex. 1.

http://blog.amnestyusa.org/americas/fleeing-for-our-lives-central-american-
migrant-crisis/; Lily Folkerts, A Look at the Northern Triangle of Central
America in 2016: Sustained Violence and Displacement, LATIN AMERICA
WORKING GROUP (Aug. 15, 2016) http://www.lawg.org/action-center/lawg-
blog/69-general/1709-a-look-at-thenorthern-triangle-of-central-america-in-2016-
sustained-violence-and-displacement.

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                                         34.

      Trump followed this up with “we’re going to take the people and they’re

going to wait … when they find out this happens, you’re going to have far fewer

people come up.” This demonstrates that Trump is compounding violations of

the Flores Agreement by again attempting to use immigration detention as a

deterrent to migration, again flouting this Court’s ruling that this is unlawful.

R.I.L-R v. Johnson, 80 F.Supp.3d 164, 188 (D.D.C. 2015) (citing Kansas v. Crane,

534 U.S. 407, 412, 122 S.Ct. 867, 151 L.E.2d 856 (2002)).

      b. Facts Related to Denial of Access to Asylum

                                         35.

      At the same time that Trump is stating that he is going to detain all Central

American asylum seekers, he is saying it doesn’t matter, “those in the Caravan,

turnaround, we are not letting people into the United States illegally. Go back to

your Country.”

                                         36.

      As stated by Defendant Nielsen (Secretary of DHS), “This caravan cannot

come to the United States. They will not be allowed in. They will not be allowed

to stay.” “If you do not have a legal right to come to this country and you come

as part of this caravan, you come in our country, you will be returned home.” Id.




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                                         37.

      To further enact Trump’s policy position/initiative of stopping

caravanners, including asylum seekers, from entering the United States,

Defendants are sending more than 5,000 active duty troops to the Southern

Border to join Customs and Border Patrol and the National Guard already

present there. At least some number of these troops will be armed.

                                         38.

      Defendant Nielsen has already admitted that these troops, and CBP

agents, cannot enter Mexico to prevent the immigrants from entering the U.S. to

seek asylum.

                                         39.

      Any immigrant, even one deemed inadmissible under §§ 1182(a)(6)(C) or

1182(a)(7), who indicates an intention to apply for asylum or a fear of

persecution, shall be referred to an asylum officer. 8 U.S.C. § 1225 (b)(1)(A)(ii).

Thus, the Defendants are attempting to deprive these migrants of their statutory

right to seek asylum, and utilizing the U.S. military against desperate, unarmed,

women and children to do it. Id.




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                                          40.

      As late as October 31, 2018, Mr. Trump has re-stated his policy position,

stating he is now prepared to deploy as many as 15,000 troops, stating “[w]e’re

going to be prepared. They are not coming into our country.”

      c. Relevant Facts to the Denial of Due Process

                                          41.

      The Defendants have stated that their policy is to detain all migrants and

caravanners, including asylum seekers indefinitely, without any bond hearing.

                                          42.

      All immigrants in the custody of the Defendants are issued a notice to

appear by the CBP officer initially reviewing their case. Garza-Garcia v. Moore,

539 F.Supp.2d 899, 907 (S.D. Tex. 2007). In issuing this document, the officer

selects from three categories, the first of which is “arriving alien” that subjects

the immigrant to mandatory detention. Id.

                                          43.

      Upon information and belief, it is by use of this designation that the

Defendants intend to enforce this mandatory detention. Specifically, upon

information and belief, the Defendants have issued an informal directive to all

CBP officers to select “arriving alien” for all of the Plaintiffs to subject them to

mandatory detention. In Kim, the Supreme Court acknowledged that § 1226



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includes the right to a hearing to determine if the immigrant is properly included

in the mandatory detention category, which provides the individual review

sufficient to satisfy constitutional requirements. Denmore v. Kim, 538 U.S. 510,

514, 123 S.Ct. 708, 155 L.Ed.2d 724. This determination has been interpreted as

giving all detainees the right to review their inclusion in the class of immigrants

subject to mandatory detention. Moore, 539F.Supp.3d at 907-08.

                                          44.

      Further, asylum-seekers can be provided bond and released into the

United States temporarily at the discretion of the Attorney General. 8 U.S.C. §

1182(d)(5)(A). ICE has issued a directive setting forth the procedures that must

be utilized when evaluating parole requests. ICE Directive No. 11002.1: Parole of

Arriving Aliens Found to Have a Credible Fear of Persecution or Torture (Dec. 8,

2009). This directive requires that ‘[e]ach alien’s eligibility for parole should be

considered and analyzed on its own merits and based on the facts of the

individual aliens case.” Id. at ¶ 6.2. Further, when such immigrants who

establish they are not a flight risk or danger to the community, “DRO should …

parole the alien on the basis that his or her continued detention is not in the

public interest.” Id.




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                                         45.

      Trump’s policy position/initiative of detaining caravanners, including

Asylum seekers, until they are deported back to Central America prohibits those

seeking Asylum from challenging their inclusion within the category of aliens

that must be mandatorily detained as described in the immediate two above

paragraphs.

                        CLASS ACTION ALLEGATIONS

                                         46.

      Plaintiffs bring this suit as a class action on behalf of themselves and all

others similarly-situated (the “Class”) pursuant to Rules 23(a), 23(b)(2), and

23(b)(3).

       i.      Class Definition

                                         47.

      Plaintiffs seek to represent the following class:

       All persons (1) who are Mexican, Central American, or South American
       citizens (2) who are travelling to the United States or have attempted
       entry into the United States, whether at a designated port of entry or
       not, since October 31, 2018, and (3) who are seeking asylum or
       intending to seek asylum within the United States.

                                         48.

      Plaintiffs reserve the right to amend the class definition if further

investigation and discovery demonstrates that the class definition should be



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narrowed, expanded, or otherwise modified. Excluded from the Class are

governmental entities, Defendants, any entity in which Defendants have a

controlling interest, and Defendants’ officers, directors, affiliates, legal

representatives, employees, co-conspirators, successors, subsidiaries, and

assigns. Also excluded from the Class is any judge, justice, or judicial officer

presiding over this matter and the members of their immediate families and

judicial staff.

                                          49.

       As a result of Defendants’ stated policies and actions taken to support

them, Plaintiffs seek declaratory and injunctive relief under Rule 23(b)(2) under

pre-enforcement standing, to prevent the catastrophic and damaging effects of

Defendants’ illegal and unconstitutional actions, policies, and practices.

        ii.       Rule 23(a) requirements are met for the proposed Class

                                          50.

       The requirements of Rule 23(a) are satisfied by this class action.

                  a. Numerosity

                                          51.

       The information as to the size of the Class and the identity of Class

Members is in the control of the Defendants. On information and belief, the class

encompasses at least 3,600 migrant individuals and families from Honduras and



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Guatemala who are currently traveling through Mexico for the United States

intending to seek asylum. The number of persons who are members of the Class

described above are so numerous that joinder of all members in one action is

impracticable.

             b. Commonality

                                          52.

      Questions of law and fact that are common to the entire Class predominate

over individual questions because the actions of Defendants complained of

herein were generally applicable to the entire Class. The common answers that

Plaintiffs seek are simple and will result in a common resolution for the Class.

These legal and factual questions include, but are not limited to:

        1. Whether housing asylum seekers, including children and families, in

           tent cities for the duration of their asylum case is permissible under

           the Flores Agreement;

        2. Whether Defendants’ decision to deny asylum seekers the ability to

           even pursue asylum claims is constitutional;

        3. Whether depriving asylum seekers of the opportunity to challenge

           their inclusion in the category of aliens subject to mandatory

           detention is constitutional;

        4. Whether using long term detention of asylum seekers, including



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           children and families, in order to deter migration is constitutional or

           lawful; and

        5. Whether denying asylum seekers who pass their credible fear exam

           an individualized review of their parole decision is constitutional and

           lawful.

              c. Typicality

                                         53.

      Plaintiffs’ claims are typical of the members of the Class because Plaintiffs

and all Class members are migrants crossing the southern U.S. border seeking

asylum who are or will be denied the opportunity to seek asylum, who are or

will be subject to mandatory immigration detention as a deterrent to migration,

who are or will be denied opportunity to seek individualized review of their

bond determination and inclusion in the class of aliens subject to mandatory

detention, and who are or will be housed in tent cities until their asylum claims

are ruled on. Plaintiffs’ claims arise from the same practices and course of

conduct that give rise to the claims of the Class members and are based on the

same legal theories.

              d. Adequacy

                                         54.

      Plaintiffs will fairly and adequately protect the interests of the Class.



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Plaintiffs have no interests that are contrary to or in conflict with those of the

Class they seek to represent.

                                          55.

      Plaintiffs have retained competent counsel in both civil rights and class

action litigation. Plaintiffs’ counsel has significant recent experience in

substantially similar litigation against substantially similar defendants.

                                          56.

      Plaintiffs’ suit is financially supported by considerable philanthropic

funding.

       iii.   Rule 23(b)(2) requirements are met for the proposed Class

                                          57.

      The requirements of Rule 23(b)(2) are satisfied by this class action.

                                          58.

      Relief concerning Plaintiffs’ rights under the laws herein alleged and with

respect to the Class would be proper. Based on the anterior facts preceding this

paragraph, Defendants have acted or refused to act on grounds generally

applicable to the Class, thereby making appropriate final injunctive relief or

corresponding declaratory relief with regard to Class members as a whole and

certification of the Class under Rule 23(b)(2) proper.




                                                                                     23
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       iv.      Rule 23(b)(3) requirements are met for the proposed Class

                                         59.

      The requirements of Rule 23(b)(3) are satisfied by this class action.

                                         60.

      Questions of law or fact common to Class members predominate over any

questions affecting only individual members because, inter alia, (i) each member

of the proposed Class was injured by the same Defendants under the same

subject policies, (ii) each member of the proposed Class was or will be denied

opportunity to seek asylum, (iii) each member of the proposed Class was or will

be determined to be an ‘arriving alien’ subject to mandatory detention without a

hearing to challenge that inclusion, (iv) each member of the proposed Class was

or will be denied an individualized review of their bond application pending

their asylum claims, (v) each member of the proposed Class was or will be

detained in tents in an effort to deter migration, and (vi) and each member of the

proposed class will be detained in tent cities in violation of the Flores Agreement.

                                         61.

      A class action is superior to other available methods for fairly and

efficiently adjudicating the controversy because the certification of the Class will

achieve economies of time, effort, and expense, and promote uniformity of

decision as to persons similarly injured, without sacrificing procedural fairness



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or bringing about other undesirable results, making certification of the Class

under Rule 23(b)(3) proper.

                                CAUSES OF ACTION

                                       COUNT I
                           Claim for Declaratory Relief
              under the Declaratory Judgment Act, 28 U.S.C. § 2201
                       due to violating Due Process Clause
                     5 Amendment of the U.S. Constitution
                      th

     (Claim for Declaratory relief against all Defendants in their official capacities)

                                            62.

      Plaintiffs hereby incorporate the preceding factual paragraphs 1 through

61, and any other paragraph this Court deems relevant, as repeated and

realleged as though fully set forth herein to support this Count.

                                            63.

      The Due Process Clause of the Fifth Amendment applies to all “persons”

on United States soil and thus applies to Plaintiffs when seeking admission at the

Southern United States Border.

                                            64.

      Plaintiffs have a liberty interest under the Due Process Clause in being free

from unwarranted government detention.

                                            65.

      Although the U.S. Supreme Court acknowledges the “broad” latitude due

the Executive in the realm of immigration, Mathews v. Diaz, 426 U.S. 67, 79–80,


                                                                                          25
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96 S.Ct. 1883, 48 L.Ed.2d 478 (1976), it cannot “abdicat[e]” its “legal responsibility

to review the lawfulness” of detention. Zadvydas, 533 U.S. at 700, 121 S.Ct. 2491.

The government's power over immigration, while considerable, “is subject to

important constitutional limitations.” Id. at 695, 121 S.Ct. 2491.

                                         66.

      Previous attempts by the federal government to use a policy of “no

release” to deter asylum seekers have been found to violate due process. In R.I.L.

v. Johnson, the federal government argued that “in determining whether an

individual claiming asylum should be released, ICE can consider the effect of

release on others not present in the United States. Put another way, it

maintain[ed] that one particular individual may be civilly detained for the sake

of sending a message of deterrence to other Central American individuals who

may be considering immigration.” R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 188–89

(D.D.C. 2015). The Johnson court found that the government’s consideration of

the deterrence effect on whether to release asylum-seekers was “out of line with

analogous Supreme Court decisions,” noting that in discussing civil commitment

more broadly, the Court has declared such “general deterrence” justifications

impermissible. Id. (citing Kansas v. Crane, 534 U.S. 407, 412, 122 S.Ct. 867, 151

L.Ed.2d 856 (2002) (warning that civil detention may not “become a ‘mechanism

for retribution or general deterrence’—functions properly those of criminal law,



                                                                                    26
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not civil commitment”) (quoting Kansas v. Hendricks, 521 U.S. 346, 372–74, 117

S.Ct. 2072, 138 L.Ed.2d 501 (1997) (Kennedy, J., concurring); see id. at 373, 117

S.Ct. 2072 (“[W]hile incapacitation is a goal common to both the criminal and

civil systems of confinement, retribution and general deterrence are reserved for

the criminal system alone.”)). The Johnson court further found that “a general-

deterrence rationale seems less applicable where—unlike pedophiles, see

Hendricks, 521 U.S. at 354–55, 362, 117 S.Ct. 2072, or other violent sexual

offenders, see Crane, 534 U.S. at 409–11, 122 S.Ct. at 869—neither those being

detained nor those being deterred are certain wrongdoers, but rather individuals

who may have legitimate claims to asylum in this country.” R.I.L-R v. Johnson,

80 F. Supp. 3d 164, 189 (D.D.C. 2015) (emphasis added).

                                          67.

      Based on the incorporated facts to support this count, the policy

position/initiative of detaining Plaintiffs in tents until they are deported without

permitting Plaintiffs to challenge their categorization in a class of aliens subject to

mandatory detention violates their substantive due process rights. Moreover,

violating their substantive due process rights for the purpose of deterring

migration is also unconstitutional.




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                                            68.

      Based on the incorporated facts to support this count, furthermore, the

policy position/initiative of entirely denying all class members access to the

asylum process by stating you are not allowing any class member from even

entering the United States, violates their due process rights.

                                            69.

      Based on the incorporated facts to support this count, the policy

position/initiative of detaining children and families in tents in direct violation

of the Flores Agreement, violates the substantive due process rights of the

Plaintiffs and their minor children, for whom they are acting on behalf of.

                                       COUNT II
                           Claim for Declaratory Relief
              under the Declaratory Judgment Act, 28 U.S.C. § 2201
                 for violation of Procedural Due Process Clause
                     5th Amendment of the U.S. Constitution
     (Claim for Declaratory relief against all Defendants in their official capacities)

                                            70.

      Plaintiffs hereby incorporate the preceding factual paragraphs 1 through

34, and any other paragraph this Court deems relevant, as repeated and

realleged as though fully set forth herein to support this Count.




                                                                                          28
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                                          71.

      The Due Process Clause of the Fifth Amendment applies to all “persons”

on United States soil and thus applies to Plaintiffs when seeking admission at the

Southern United States Border.

                                          72.

      Plaintiffs have a liberty interest under the Due Process Clause in remaining

free from unwarranted government detention.

                                          73.

      Based on the incorporated facts to support this count, the policy

position/initiative that mandates the detention of Plaintiffs in tents until they

must leave the country violates procedural due process because the policy

position/initiative denies Plaintiffs their lawful right to challenge Plaintiffs’

inclusion in a category that prohibits them from seeking bond and release from

detention. This denial deprives the Plaintiffs of their procedural protections of

the individualized determination of their bond eligibility.




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                                      COUNT III
                            Claim for Declaratory Relief
    for violation of the Administrative Procedures Act (“APA”), 5 U.S.C. §
            706(2)(C), by disregarding the requirements of, inter alia,
                   8 U.S.C. § 1225; 8 U.S.C. § 1182; 8 CFR § 1201
              ICE Directive No. 11002.1; and the Flores Agreement
 (Claim for Declaratory relief against Defendants Sessions, Nielsen, and McAleenan in
                                 their official capacities)

                                         74.

      Plaintiffs hereby incorporate the preceding factual paragraphs 1 through

34, and any other paragraph this Court deems relevant, as repeated and

realleged as though fully set forth herein to support this Count.

                                         75.

      Based on all the incorporated facts that support this count, the final agency

action mandating the permanent detention of all asylum seekers in tents (or

anywhere) until they are deported is an arbitrary and capricious abuse of the

implementation of specific statutes that entitle Plaintiffs to challenge their

categorization within a class of aliens that are not permitted bond. Further, this

policy position/initiative is an arbitrary and capricious abuse of the

implementation of the specific statutes permitting aliens to seek asylum. Further,

the Defendants’ policy position/initiative of detaining minor alien children in

tents, a schematic that clearly does not meet the licensed program and other

requirements of the Flores Agreement; and the tent city policy is unlawful under

the APA.


                                                                                     30
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                                      COUNT IX
                                    Attorney’s Fees

        Based on the foregoing, Plaintiffs are entitled to reasonable attorney’s fees

under all applicable laws, including the Equal Access to Justice Act, 28 U.S.C. §

2412.

                                PRAYER FOR RELIEF

        Plaintiffs request that the Court enter a judgment against Defendants and

award the following relief:

        A.     Enter judgment and declaratory judgment in favor of Plaintiffs;

        B.     Declare all acts argued as unconstitutional within this Complaint as

               unconstitutional;

        C.     Declare all acts argued as violative of the APA as violative of the

               APA;

        D.     Award costs and attorneys’ fees to Plaintiffs; and

        E.     Order all other relief that is just and proper.

        Respectfully submitted this 1st day of November 2018.

                                         /s/John M. Shoreman
                                         John M. Shoreman (#407626)

MCFADDEN & SHOREMAN, LLC
1050 Connecticut Avenue, NW
Washington, DC 20036
202-772-3188/202-204-8610 FAX
jmshoreman@verizon.net



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                                     /s/ Mario B. Williams
                                     Mario B. Williams (Ga. # 235254)
                                     Pro Hac Vice Application Forthcoming

                                     /s/Dallas S. LePierre
                                     Dallas S. LePierre (Fl. # 101126)
                                     Pro Hac Vice Application Forthcoming

NEXUS DERECHOS HUMANOS ATTORNEYS, INC.
44 Broad Street, NW, Suite 200
Atlanta, Georgia 30303
404-254-0442/ 703-935-2453 FAX
mwilliams@ndhlawyers.com
dlepierre@ndhlawyers.com
                               /s/ Julie Oinonen
                               Julie Oinonen (Ga. # 722018)
                               Pro Hac Vice Application Forthcoming
WILLIAMS OINONEN LLC
44 Broad Street, NW, Suite 200
Atlanta, Georgia 30303
404-654-0288/404-592-6225 FAX
julie@goodgeorgialawyer.com

Counsel for Plaintiffs




                                                                            32
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             Exhibit 1
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                           Case 1:18-cv-02534 Document 1-2 Filed 11/01/18 Page 1 of 2
                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 MARIA DORIS PINEDA, et al                                                      DONALD J. TRUMP, et al.



 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

 John M. Shoreman, MCFADDEN & SHOREMAN, LLC
 1050 Connecticut Avenue, NW, Washington, DC 20036
 202-772-3188


 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

 o     1 U.S. Government    o     3 Federal Question
                                                                                           PTF    DFT                                                        PTF           DFT

         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits                                  462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                         Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                         defendant)                                465 Other Immigration
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                         Actions
      240 Torts to Land                 Prisoner Petitions                                    7609                                      470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                    Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                             625 Drug Related Seizure of
                                                                                              Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                          690 Other                                     850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                     Other Statutes                                     896 Arbitration
      380 Other Personal Property
                                                                                         375 False Claims Act                           899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                               376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                       3729(a))                                       Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                 400 State Reapportionment                      950 Constitutionality of State
                                                Drug Application                         430 Banks & Banking                                Statutes
                                            840 Trademark                                450 Commerce/ICC                               890 Other Statutory Actions
                                                                                             Rates/etc.                                     (if not administrative agency
                                                                                         460 Deportation                                    review or Privacy Act)
                             Case 1:18-cv-02534 Document 1-2 Filed 11/01/18 Page 2 of 2
 o     G. Habeas Corpus/                       o      H. Employment                            o    I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                    o    M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Violations of APA 5 U.S.C. § 706(2)(C); Violations of Procedural and Substantive Due Process Rights

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
                                             ACTION UNDER F.R.C.P. 23                                                            YES               NO
      COMPLAINT                                                                      JURY DEMAND:

 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES                    NO      ✘                If yes, please complete related case form


             11/01/2018
 DATE: _________________________                                                                  /s/ JOHN SHOREMAN
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
                        Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 1 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
                                                    __________     of Columbia
                                                               District of __________

               MARIA DORIS PINEDA, et al                            )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.
                                                                    )
                 DONALD J. TRUMP, et al.                            )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DONALD J. TRUMP, President of the United States of America
                                           1600 Pennsylvania Ave, N.W.,
                                           Washington, D.C.;




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John M. Shoreman
                                           MCFADDEN & SHOREMAN, LLC
                                           1050 Connecticut Avenue, NW
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
                          Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 2 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                        Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 3 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         District
                                                   __________     of Columbia
                                                              District of __________

               MARIA DORIS PINEDA, et al                              )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No.
                                                                      )
               DONALD J. TRUMP, et al.                                )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. Immigration and Customs Enforcement ("ICE")
                                           500 12th St., SW
                                           Washington, D.C. 20536




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John M. Shoreman
                                           MCFADDEN & SHOREMAN, LLC
                                           1050 Connecticut Avenue, NW
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                          Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 4 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                        Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 5 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         District
                                                   __________     of Columbia
                                                              District of __________

               MARIA DORIS PINEDA, et al                              )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No.
                                                                      )
                 DONALD J. TRUMP, et al.                              )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. Department of Homeland Security (“DHS”)
                                           245 Murray Lane, SW
                                           Washington, D.C. 20528




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John M. Shoreman
                                           MCFADDEN & SHOREMAN, LLC
                                           1050 Connecticut Avenue, NW
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                          Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 6 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                        Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 7 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District
                                                   __________     of Columbia
                                                              District of __________

               MARIA DORIS PINEDA, et al                           )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No.
                                                                   )
                 DONALD J. TRUMP, et al.                           )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. CUSTOMS AND BORDER PROTECTION (“CBP”)
                                           1300 Pennsylvania Ave., NW
                                           Washington, D.C. 20229




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John M. Shoreman
                                           MCFADDEN & SHOREMAN, LLC
                                           1050 Connecticut Avenue, NW
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                          Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 8 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                        Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 9 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District
                                                   __________     of Columbia
                                                              District of __________

               MARIA DORIS PINEDA, et al                              )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                         Civil Action No.
                                                                      )
                 DONALD J. TRUMP, et al.                              )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. CITIZENSHIP AND IMMIGRATION SERVICES (“USCIS”)
                                           20 Massachusetts Ave, NW
                                           Washington, D.C. 20529




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John M. Shoreman
                                           MCFADDEN & SHOREMAN, LLC
                                           1050 Connecticut Avenue, NW
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 10 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 11 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
                                                    __________     of Columbia
                                                               District of __________

               MARIA DORIS PINEDA, et al                            )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.
                                                                    )
                 DONALD J. TRUMP, et al.                            )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Thomas Homan, Acting Director
                                           U.S. Immigration and Customs Enforcement (“ICE”)
                                           500 12th St., SW
                                           Washington, D.C. 20536




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John M. Shoreman
                                           MCFADDEN & SHOREMAN, LLC
                                           1050 Connecticut Avenue, NW
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 12 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 13 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District
                                                   __________     of Columbia
                                                              District of __________

               MARIA DORIS PINEDA, et al                              )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                         Civil Action No.
                                                                      )
                 DONALD J. TRUMP, et al.                              )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jefferson Beauregard Sessions III, Attorney General of the United States
                                           950 Pennsylvania Ave, NW
                                           Washington, D.C. 20530




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John M. Shoreman
                                           MCFADDEN & SHOREMAN, LLC
                                           1050 Connecticut Avenue, NW
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 14 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 15 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
                                                    __________     of Columbia
                                                               District of __________

               MARIA DORIS PINEDA, et al                            )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.
                                                                    )
                 DONALD J. TRUMP, et al.                            )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Kirstjen Nielsen, Secretary of DHS
                                           U.S. Department of Homeland Security
                                           245 Murray Lane, SW
                                           Washington, D.C. 20528




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John M. Shoreman
                                           MCFADDEN & SHOREMAN, LLC
                                           1050 Connecticut Avenue, NW
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 16 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 17 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District
                                                   __________     of Columbia
                                                              District of __________

               MARIA DORIS PINEDA, et al                           )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No.
                                                                   )
                 DONALD J. TRUMP, et al.                           )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KEVIN K. MCALEENAN, Acting Commissioner of U.S. Customs and Border Protection
                                           (“CBP”)
                                           1300 Pennsylvania Ave., NW
                                           Washington, D.C. 20229




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John M. Shoreman
                                           MCFADDEN & SHOREMAN, LLC
                                           1050 Connecticut Avenue, NW
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 18 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 19 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District
                                                   __________     of Columbia
                                                              District of __________

               MARIA DORIS PINEDA, et al                              )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                         Civil Action No.
                                                                      )
                 DONALD J. TRUMP, et al.                              )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) L. FRANCIS CISSNA, in his official capacity as Director of USCIS
                                           20 Massachusetts Ave, NW
                                           Washington, D.C. 20529




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John M. Shoreman
                                           MCFADDEN & SHOREMAN, LLC
                                           1050 Connecticut Avenue, NW
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 20 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 21 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                          District
                                                    __________     of Columbia
                                                               District of __________

               MARIA DORIS PINEDA, et al                               )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No.
                                                                       )
                 DONALD J. TRUMP, et al.                               )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jessie Lio, U.S. Attorney
                                           c/o Civil Process Clerk
                                           555 4th Street, NW
                                           Washington, DC 20530




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John M. Shoreman
                                           MCFADDEN & SHOREMAN, LLC
                                           1050 Connecticut Avenue, NW
                                           Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-02534 Document 1-3 Filed 11/01/18 Page 22 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
